
*560ORDER
Considering the record of this matter, the findings and recommendation of the hearing committee, and the response thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that respondent’s conditional admission to the practice of law in the State of Louisiana be revoked, effective immediately. Respondent may not submit an application for readmission for a period of at least eighteen months from the date of this order. In the event respondent chooses to submit an application for readmission, it shall be filed with the Disciplinary Board, which shall appoint a hearing committee to take evidence and report to this court whether respondent should be readmitted to the bar and allowed to practice law in Louisiana. The Office of Disciplinary Counsel shall participate in the hearing and provide such information, evidence, and recommendations to the hearing committee as may be appropriate.
/s/ Jeffrey P. Victory
Justice, Supreme Court of Louisiana
